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OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Western District of New York

                   United States of America                        )
                              v.                                   )
                                                                   )   Case No: 99-CR-6090
                       OKEEM WILLIAM S
                                                                   )   USM No:
Date of Previous Judgment: August 14, 2001                         )   Joel Krane, Esq.
(Use Date of Last Amended Judgment if Applicable)                  )   Defendant’s Attorney

            Amended Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of  the defendant  the Director of the Bureau of Prisons x the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.    X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 135           months is reduced to 120 months                 .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    32               Amended Offense Level:                                           30
Criminal History Category: II               Criminal History Category:                                       II
Previous Guideline Range: 135 to 168 months Amended Guideline Range:                                         108       to 135   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
X Other (explain): Based on a sentencing guideline range of 135 to 168 months, the Court previously sentenced the
                     defendant to 135 months. With an amended sentencing guideline range of 108 to 135 months, the
                     Court sentences the defendant to 120 months, which is the statutory minimum.



III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated 8/14/2001                  shall remain in effect.
IT IS SO ORDERED.

Order Date:         March 25, 2008                                                        /s/ Charles J. Siragusa
                                                                                                Judge’s signature


Effective Date: March 24, 2008                                             CHARLES J. SIRAGUSA, U.S. DISTRICT JUDGE
                     (if different from order date)                                           Printed name and title
